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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF SOUTH CAROLINA
                                CHARLESTON DIVISION

                                    )
Cheri S. Hodges,                    )
                                    )
              Plaintiff,            )
                                    )                              COMPLAINT
       vs.                          )
                                    )                       Case No.: 2:22-cv-1789-BHH
Pinnacle Financial Partners,        )
                                    )                             E.R.I.S.A. - Non-Jury
              Defendant.            )
____________________________________)

       Plaintiff Cheri S. Hodges, by and through her undersigned counsel, complaining of the

above-named Defendant Pinnacle Financial Partners, would respectfully show unto this

Honorable Court the following:

                                 JURISDICTION AND VENUE

1.     Plaintiff is a citizen and resident of Dorchester County, South Carolina.

2.     Prior to her disability, Plaintiff was a employed at Defendant Pinnacle Financial Partners.

3.     Upon information and belief, Defendant Pinnacle Financial Partners created an employee

       welfare benefits plan for the purpose of providing long term disability (STD) benefits to

       its employees.

4.     At all times material to the allegations contained here, Plaintiff Cheri S. Hodges was a

       participant in the employers Short Term Disability Plan (hereinafter “the Plan”).

5.     Defendant Pinnacle Financial Partners the Plan Sponsor and Plan Administrator of the

       STD Plan.

6.     Defendant Pinnacle Financial Partners, is a fiduciary with respect to the STD Plan.


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7.      Upon information and belief, Defendant Pinnacle Financial Partners contracted with Life

        Insurance Company of North America (hereinafter “LINA”) to act as claims administrator

        for the STD Plan.

8.      The STD Plan is governed by the Employee Retirement and Income Security Act of 1974

        (hereinafter “ERISA”), 29 U.S.C. § 1001, et seq.

9.      Pursuant to 29 U.S.C. §1132(e), this Court has jurisdiction over Plaintiff’s claims.

                                   FACTUAL ALLEGATIONS

10.     Prior to her disability, Cheri S. Hodges enrolled in the STD Plan.

11.     Since February 8, 2021, Plaintiff has been unable to perform the material and substantial

        duties of her Own Occupation due to medical issues.

12.     After she became disabled, Plaintiff applied for STD benefits.

13.     On February 11, 2021, LINA approved Plaintiff’s claim for STD benefits.

14.     On May 3, 2021, LINA denied Plaintiff's STD claim effective April 18, 2021.

15.     On December 17, 2021, Plaintiff timely appealed LINA’s STD denial decision.

16.     On May 26, 2022, Defendant’s claims administrator LINA denied Plaintiff’s appeal.

17.     Plaintiff has exhausted all administrative remedies under the STD Plan.

18.     Despite Plaintiff’s continuous total disability since February 8, 2021, Defendant Pinnacle

        Financial Partners and its claims administrator LINA has wrongfully failed to pay STD

        benefits to Plaintiff as required by the Plan.

                                      CAUSE OF ACTION
               Plaintiff’s Claim for STD, pursuant to 29 U.S.C. §§ 1132(a)(1)(B)

19.     Plaintiff incorporates all prior allegations herein, where not inconsistent, as if fully set



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        forth herein.

20.     Plaintiff has been totally disabled from performing the material duties of her regular

        occupation or any other occupation for which he is reasonably qualified since February 8,

        2021.

21.     Plaintiff is entitled to STD benefits under the Plan.

22.     Plaintiff has been totally disabled from performing the material duties of any occupation

        for which she is capable of performing by way of education, training, or experience, and

        is entitled to STD benefits to the maximum age under the terms of the Plan as described

        above.

23.     Plaintiff seeks STD benefits under the terms of the Plan, to enforce her rights under the

        terms of the Plans, and to clarify her rights to future benefits under the terms of the Plans,

        pursuant to 29 U.S.C. §1132(a)(1)(B).

24.     Plaintiff respectfully requests that the Court order each Defendant LINA to pay all

        amounts due and owing for the Plaintiff’s STD benefits under the terms of the STD Plan

        pursuant to 29 U.S.C. § 1132(a)(1)(B).

25.     Pursuant to 29 U.S.C. §1132(g), Plaintiff also respectfully requests that the court grant

        Plaintiff’s attorneys fees and costs.

        WHEREFORE, Plaintiff Cheri S. Hodges prays for judgment directing Defendant

Pinnacle Financial Partners to pay Plaintiff’s STD benefits pursuant to the Short Term Disability

Plan, attorneys fees and costs, and all such further relief as the Court deems just and proper.

[signature on following page]




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                                   Respectfully Submitted,


                                       s/John R. Peace
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June 7, 2022




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